Exhibit A
Revised APA and Schedules

(omitted_no change)

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Exhibit B
Additional Financial DiSclosures

(Omitted_no change)

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Exhibit C
Schedule of Assets to be Con'pributed to the Charitable Trust

(omitted_no change)

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Exhibit D

Mechanism for Reconciliation Of Valuation of
Contributed Assets and Certain Administrative Costs

(omitted_no change)

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Exhibit E
Schedule of Loans to be Reinstated and Assurned

(omitted_no change)

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Exhibit F

Schedule Of Causes of Action to be Retained and Transferred

 

(omitted-~no change)

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